            Case 1:17-cv-00365-LY Document 94-1 Filed 05/25/18 Page 1 of 3



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
                Plaintiffs,                      )
                                                 )
vs.                                              )
                                                 )     No. 1:17-cv-00365
GRANDE COMMUNICATIONS                            )
NETWORKS LLC and PATRIOT MEDIA                   )
CONSULTING, LLC,                                 )
                                                 )
                Defendants.
                                                 )

                       DECLARATION OF NICHOLAS B. CLIFFORD

       I, Nicholas B. Clifford, declare as follows:

       1.       I am licensed to practice law in the State of Missouri and am a partner at the law

firm of Armstrong Teasdale LLP. I am counsel of record for Defendant, Grande

Communications Networks LLC (“Grande”) in this suit against Plaintiffs UMG Recordings, Inc.,

et al. (“Plaintiffs”). I have been admitted to practice in the Western District of Texas on a pro

hac vice basis pursuant to ECF No. 84 entered on April 20, 2018. I submit this declaration in

support of Defendant Grande Communications Networks LLC’s Motion to Authorize Service of

Third-Party Subpoena by U.S. Marshal. I have personal knowledge of the facts set forth below

and if called upon and sworn as a witness, I could and would competently testify to them.

       2.       Exhibit 1 is a true and accurate copy of the web page, www.ip-echelon.com,

visited on May 24, 2018.

       3.       Exhibit 2 is a true and accurate copy of the web page,

https://www.smh.com.au/technology/meet-australian-company-ipechelon-one-of-the-biggest-

antipiracy-operations-in-the-world-20150429-1mw93k.html, last visited on May 24, 2018.


                                                 1
            Case 1:17-cv-00365-LY Document 94-1 Filed 05/25/18 Page 2 of 3



       4.       Exhibit 3 is a true and accurate copy of the web page,

https://torrentfreak.com/piracy-phishing-scam-targets-u-s-isps-subscribers-160624/, last visited

on May 24, 2018.

       5.       Exhibit 4 is a true and accurate copy of the IP-Echelon subpoena.

       6.       Armstrong Teasdale engaged Civil Action Group, Ltd. to serve the IP-Echelon

subpoena on IP-Echelon at its office located at 7083 Hollywood Blvd., 1st Floor, Los Angeles

CA 90028. Civil Action attempted service at 3:28 pm on May 17, 2018, but the building

receptionist at the ground floor would not verify if IP-Echelon was a tenant and refused to

contact IP-Echelon. See Exhibit 5. On May 22, 2018, Civil Action attempted to serve IP-

Echelon again, but the unidentified building receptionist refused to permit entry into the building

or to provide any information at all. See Exhibit 6.

       7.       I visited the California Secretary of State Business Search website

(https://businesssearch.sos.ca.gov) to search for information on IP-Echelon Pty, Ltd. (“IP-

Echelon”), but my search returned “0 entity records” for a corporation name search and for a

LP/LLC name search. Accordingly, I could not identify any registration for IP-Echelon, and I

could not identify a registered agent for service of process for IP-Echelon.

       8.       On Monday, May 21, 2018, I called IP-Echelon’s US telephone number ((310)

606-2747) listed on the www.ip-echelon.com website. I was unable to reach anybody and left a

message, requesting a return call to me. I have not received a return telephone call from IP-

Echelon. I also sent an email to the address (enquiries@ip-echelon.com) listed on the www.ip-

echelon.com website, attaching Grande’s subpoena and requesting that IP-Echelon contact me

about the subpoena. I have not received a return email from IP-Echelon.




                                                 2
            Case 1:17-cv-00365-LY Document 94-1 Filed 05/25/18 Page 3 of 3



       9.       Attached as Exhibit 7 is a true and accurate copy of a PGP-authenticated

infringement notice received by Grande from Adrian Leatherland of IP-Echelon (via email from

p2p@copyright.ip-echelon.com), dated April 18, 2017.

       10.      Attached as Exhibit 8 is a true and accurate copy of a non-authenticated, non-PGP

signed infringement notice received by Grande purporting to be from Adrian Leatherland of IP-

Echelon (via email from copyright@ip-echelon.net), dated June 27, 2016.


       I declare under penalty of perjury that the foregoing is true and correct.




       Executed on May 24, 2018 in St. Louis, Missouri.


                                                             /s/     Nicholas B. Clifford_____
                                                                     Nicholas B. Clifford




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